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  NOT FOR PUBLICATION

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

  __________________________________________
                                            )
  IDT TELECOM, INC. and UNION               )
  TELECARD ALLIANCE, LLC,                   )
                                            )
                          Plaintiffs,       )
                                            )
  v.                                        )                 Civil Action No. 07-1076 (GEB)
                                            )
  CVT PREPAID SOLUTIONS, INC., et al.,      )                 MEMORANDUM OPINION
                                            )
                                            )
                          Defendants.       )
  _________________________________________ )


  BROWN, Chief Judge

         This matter comes before the Court upon two motions for summary judgment filed by

  two sets of Defendants: (1) Telco Group, Inc., STi Phonecard, Inc., VOIP Enterprises, Inc., and

  Find and Focus Abilities, Inc. (collectively the “Telco Companies” or “Telco”) (Doc. No. 377);

  and (2) STi Prepaid LLC (“STi”) (Doc. No. 375). Plaintiffs IDT Telecom, Inc. and Union

  Telecard Alliance, LLC (collectively “Plaintiffs” or “IDT” and “UTA,” respectively) oppose both

  motions. Plaintiffs filed a motion to strike the statement of undisputed material facts provided by

  Telco in support of their summary judgment. (Doc. No. 384). Defendants oppose this motion.

  The Court has considered the parties’ submissions and decided the matter without oral argument

  pursuant to Federal Rule of Civil Procedure 78. For the reasons stated below, the Court will

  grant STi’s motion, deny in part and grant in part the Telco Companies’ motion, and deny the



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  Plaintiffs’ motion to strike.

  I.      BACKGROUND

          This dispute arises from Plaintiffs’ claim that they have lost market share and millions of

  dollars in sales as a result of Defendants’ allegedly misleading advertising for prepaid phone

  cards. (Am. Compl. at ¶¶ 3, 5, 7; Doc. No. 52.)

          A.      Undisputed Facts

          The following facts are undisputed unless otherwise noted. IDT, UTA, and STi are

  participants in the prepaid phone card industry. (STi’s 56.1 Stmt. at ¶ 1; Doc. No. 375-9.) IDT

  and STi supply phone cards that are ultimately distributed to consumers who have a need for

  low-cost, long-distance and international calling services. (Id. at ¶ 2.) UTA is the exclusive

  distributor of IDT-supplied prepaid phone cards. (Id. at ¶ 4.)

          Prepaid calling cards are sold in dollar denominations (e.g., $5, $10) and can be used to

  dial numerous destinations. (Pls.’ Br. in Opp. to Telco at 2; Doc. No. 378.) The number of

  minutes available on a calling card is determined by the rate per minute of talk time to the

  destination called minus any fees and charges. (Telco’s 56.1 Stmt. at ¶ 21; Doc. No. 377-8.)

  Advertisements for prepaid phone cards focus solely on the number of minutes to the key

  destinations for that card. For example, a poster will emphasize that a card offers “250 minutes

  to the Dominican Republic.” (Bohorquez Decl., Ex. 8, March 4, 2009.)

          STi used a system of fees and charges that could vary according to destination, length

  and duration of the call, and reduced the number of minutes available for talk time. (Telco’s 56.1

  Stmt. at ¶ 20; Doc. No. 377-8; STi’s 56.1 Stmt. at ¶ 21; Doc. No. 375-9.) The statements about

  the number of minutes available for talk time were displayed in two media relevant to this suit:


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  (1) on posters that were displayed at the point of sale and (2) in voice prompts that play before a

  call is made. Telco’s posters informed consumers about the gross number of minutes of talk

  time. The posters also contained a disclaimer that addressed specific fees and charges as follows:

  “[a]pplication of surcharges and fees will have the effect of reducing total minutes actually

  received on the card from the minutes announced . . . Prices and fees . . . are subject to change

  without notice.” (Telco’s 56.1 Stmt. at ¶ 21; Doc. No. 377-8.) The same disclaimer was also

  included on the packaging that accompanied the calling cards. (Id. at ¶ 22.) Defendants’ voice

  prompts are also at issue here. Voice prompts are computer generated statements that give the

  talk time to the consumer at the beginning of each call. (Bohorquez Decl., Ex. 10 at 84:19-85:9).

  Voice prompts cannot be heard by the consumer until after purchase, when the card is actually

  used. (Telco’s 56.1 Stmt. at ¶ 28; Doc. No. 377-8.)

         During the period from 2006 until 2007, IDT lost market share in the prepaid phone card

  business. (Goldman Decl., Ex. C, Feb. 11, 2009.) Plaintiffs cite one example showing that

  IDT’s sales of the Escandalo Florida card fell from more than $5 million in 2006 to about $5,000

  in 2007. (Pls.’ Br. in Opp. to Telco at 13; Doc. No. 378.) During this same period, STi’s sales

  grew from about $2.3 million to about $5 million. (Id.) In public filings, IDT stated that other

  factors contributed to their loss of sales and market share, such as “a gradual shift in demand

  away from calling cards into wireless products.” (Telco’s Br. at 16 (citing Goldman Decl., Ex.

  P); Doc. No. 377-7.) In addition, IDT acknowledges that they have lost market share and sales to

  competitors other than Telco and STi, including large competitors like AT&T, MCI, and Sprint,

  as well as “smaller calling card providers, who from time-to-time offer rates that are substantially

  below our rates . . . in order to gain market share.” (Id. at 16-17 (citing Goldman Decl., Ex. C).)


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         The corporate structures of Telco and STi were in flux during the period from 2006 to

  2007. In 2007, STi entered the prepaid phone card business when Leucadia National Corporation

  (“Leucadia”) completed the acquisition of substantially all of the operating assets and certain

  liabilities of Telco and certain other affiliated companies (collectively, “Sellers”) pursuant to an

  Asset Purchase and Contribution Agreement (“APA”) dated January 23, 2007, by and among

  STi, Telco, and certain other parties. (STi’s 56.1 Stmt. at ¶ 12; Doc. No. 375-9.) This date

  marked the end of Telco’s prepaid phone card operations, and the beginning of STi’s operation

  of said business under the direction of Leucadia. STi acquired 75% of the assets purchased from

  Telco, and Mr. Samer Tawfik, the sole stockholder and decision maker of Telco, still retains the

  remaining 25% ownership interest in STi. (Larsen Decl., ¶ 10, Feb. 10, 2009) The APA

  expressly provides that certain liabilities were not assumed by STi. The “Excluded Liabilities”

  section of the APA expressly includes any liabilities in respect of claims arising our of the prior

  conduct of the acquired assets:

              Notwithstanding the foregoing, any Liability listed below shall be an Excluded
              Liability . . . (e) all Liabilities in respect of any . . . claim arising out of . . . (i) the
              operation of the Business to the extent such . . . claim relates to such operation
              on or prior to the Initial Closing Date.

  (Id. at ¶ 12.) Until the transaction closed, neither STi nor any other Leucadia entity exercised any

  control over or had any involvement or ownership interest in Telco or in the prepaid phone card

  business.

         After the transaction, the business and affairs of STi became exclusively managed by a

  board of directors (“Board”). The Board comprises 4 directors, and Leucadia has the right to

  nominate three of them, while Mr. Tawfik has the right to nominate the fourth. (Id. at ¶ 18.) Mr.



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  Tawfik remains the CEO of STi, but he now reports to the Board, unlike his role at Telco at

  which he was the sole owner and decision maker with accountability to no one. (Id.) After

  acquiring Telco, Leucadia began the process of installing its own designees as officers and

  employees of STi. The Leucadia-installed President, Jim Continenza, was installed in September

  2007 and assumed complete responsibility for the operations of STi. (Id. at ¶ 23.) Leucadia also

  replaced STi’s Vice President for Network Operations with a former employee of a Leucadia

  subsidiary. (Id. at ¶¶ 26, 27.) In July 2008, STi moved its offices from Flushing, Queens to 1250

  Broadway in Manhattan, and revamped its back office and technology platform. (Id. at ¶¶ 36,

  38.)

         B.      Procedural History

         Plaintiffs commenced this action on March 8, 2007, by filing a complaint against the

  Telco Companies and nine other defendants, all of which are competitors in the prepaid

  telephone calling card industry. In the complaint, Plaintiffs asserted claims of false advertising

  under the Lanham Act (Count I) and false advertising under § 56:8 of the New Jersey Statutes

  Annotated (Count II). Plaintiffs have also asserted claims under several other state law theories,

  including claims for deceptive conduct under New York General Business Law § 349 (Count III),

  false advertising under New York General Business Law § 350 (Count IV), false advertising

  under California Business and Professional Code § 17500 (Count V), deceptive practices under

  California’s Unfair Competition Law (Count VI), a claim under the Florida Deceptive and Unfair

  Trade Practices Act (Count VII), false advertising under the Fla. Stat. § 817.41 (Count VIII), and

  claims under the Illinois Consumer Fraud Act (815 ILCS 505/2) (Count IX) and Illinois Uniform

  Deceptive Trade Practices Act (815 ILCS 510) (Count X). Plaintiffs have since reached


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  settlements with eight of the other nine defendants, leaving the Telco Companies and STi.

         On March 9, 2007, Judge Susan D. Wigenton issued an Order to Show Cause why a

  Preliminary Injunction should not Issue. (Doc. No. 3.) On May 16, 2007, Judge Wigenton

  denied entry of the Order. (Doc. No. 128.) This decision was appealed to the Third Circuit, and

  ultimately affirmed. IDT Telecom, Inc. v. CVT Prepaid Solutions, Inc., 250 Fed. Appx. 476 (3d.

  Cir. 2007). On May 9, 2007, Defendant CVT Prepaid filed a motion to dismiss the complaint

  pursuant to FED . R. CIV . P. 12(b)(1), arguing that the Court lacked subject matter jurisdiction.

  (Doc. No. 53). The other Defendants later joined CVT. (Doc. No. 120). Judge Wigenton heard

  oral argument on the motion on May 9, 2007, and denied it in a ruling from the bench. (Doc. No.

  126.) On June 15, 2009, the case was transferred from Judge Wigenton to Judge Peter G.

  Sheridan. On September 9, 2009, the case was transferred from Judge Sheridan to this Court.

         On February 11, 2009, Defendants filed the present motions for summary judgment. On

  March 5, 2009, Plaintiffs filed the present motion to strike. All matters were fully briefed on

  March 30, 2009. On September 23, 2009, the parties terminated the motions and proceeded to

  mediation. After unsuccessful mediation attempts, the motions were restored to the active docket

  on December 7, 2009.

  II.    DISCUSSION

         Both Telco and STi have moved for summary judgment on all claims, arguing: (1) that

  the plaintiffs lack standing to assert either a Lanham Act claim or any state law claim (Telco’s

  Br. at 33; Doc. No. 377-2), and (2) that they are not liable under the Lanham Act or the state law

  claims due to lack of causation between the alleged false advertising and Plaintiffs’ lost sales (Id.

  at 9). STi joins Telco’s arguments, and further argues that they are not liable for the acts of the


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  Telco companies under the successor liability doctrine. (See generally, STi’s Br.; Doc. No. 375)

  Finally, Plaintiffs have filed a motion to strike the Statement of Undisputed Material Facts that

  Telco submitted with its motion for summary judgment. (Pls.’ Mot. to Strike at 1, Doc. No.

  384.) In support of that motion, Plaintiffs argue that the 56.1 statement “is riddled with legal

  arguments and advocacy, statements that are not supported by the record or that do not even cite

  to the record, and argumentative parentheticals that color and mischaracterize the evidence. (Id.)

          A.      Standard of Review

          A party seeking summary judgment must “show that there is no genuine issue as to any

  material fact and that the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

  56(c); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Hersh v. Allen Prods. Co.,

  Inc., 789 F.2d 230, 232 (3d Cir. 1986). The threshold inquiry is whether there are “any genuine

  factual issues that properly can be resolved only by a finder of fact because they may reasonably

  be resolved in favor of either party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986)

  (noting that no issue for trial exists unless there is sufficient evidence favoring the nonmoving

  party for a jury to return a verdict in its favor). In deciding whether triable issues of fact exist,

  the court must view the underlying facts and draw all reasonable inferences in favor of the

  non-moving party. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587

  (1986); Pa. Coal Ass’n v. Babbitt, 63 F.3d 231, 236 (3d Cir. 1995); Hancock Indus. v. Schaeffer,

  811 F.2d 225, 231 (3d Cir. 1987).

          B.      Application

                  1.      Standing

          Defendants first argue that Plaintiffs IDT and UTA lack standing to assert a claim under


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  the Lanham Act. This issue has not been brought before the Court previously in a Motion to

  Dismiss. Section 43(a) of the Lanham Act, pursuant to which this suit was brought, provides:

              (1) Any person who, on or in connection with any goods or services, or any
              container for goods, uses in commerce any word, term, name, symbol, or
              device, or any combination thereof, or any false designation or origin, false
              or misleading description of fact, or false or misleading representation of fact
              which -

              (A) is likely to cause confusion . . .

              shall be liable in a civil action by any person who believes that he or she is
              or is likely to be damaged by such act.


  15 U.S.C. §1125(a) (emphasis added). Standing is comprised of both constitutional and

  prudential components. Bennett v. Spear, 520 U.S. 154 (1997) (citing Warth v. Seldin, 422 U.S.

  490, 498 (1975)).

         The prudential component of standing is a set of judge-made rules forming an integral

  part of “judicial self-government.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).

  The purpose of this form of judicial self-governance is to determine whether the plaintiff is “a

  proper party to invoke judicial resolution of the dispute and the exercise of the court’s remedial

  powers.” Bender v. Williamsport Area Sch. Dist., 475 U.S. 534, 546 n.8 (1986). Determining

  prudential standing is a matter of statutory interpretation, and Congress is presumed to

  incorporate background prudential standing principles unless the statute expressly negates them.

  Bennett, 520 U.S. at 163.

         The Third Circuit has held that prudential standing was not expressly negated by

  Congress in enactment of the Lanham Act. Conte Bros. Automotive v. Quaker State-Slick 50,

  Inc., 165 F.3d 221, 230 (3d Cir. 1998). Further, the Third Circuit also adopted a clear five-factor


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  test for determining a party’s statutory standing under §43(a) of the Lanham Act. Id. at 233. The

  five factors in determining standing are:

          (1) the nature of the plaintiff’s alleged injury: is the injury of a type that
              Congress sought to redress in providing a private remedy for violations
               of the [Lanham Act]?;
          (2) the directness or indirectness of the asserted injury;
          (3) the proximity or remoteness of the party to the alleged injurious conduct;
          (4) the speculativeness of the damages claim; and
          (5) the risk of duplicative damages or complexity in apportioning damages.

  Id. at 232. (citing Associated Gen. Contractors of California, Inc. v. California State Council of

  Carpenters, 459 U.S. 519 (1983)). The prudential standing of each plaintiff will be addressed in

  turn.

                         a.      IDT’s Standing

          Telco argues that IDT lacks standing to sue under the Lanham Act because “Plaintiffs

  cannot show that Telco . . . lured customers away from Plaintiffs, nor can they show that but for

  Telco’s conduct consumers would have purchased their prepaid calling cards from Plaintiffs.”

  (Telco’s Br. at 34; Doc. No. 377-7.) Telco argues that IDT has not shown direct causation

  between the alleged false advertising and their loss of market share, and further argues that

  Plaintiffs’ “speculative” damages are enough to deny standing to IDT. (Id. at 34-35). This

  argument must fail. Here, IDT has alleged an actual injury that is of the exact nature that the

  Lanham Act was enacted to protect against: the loss of sales due to a competitor’s false

  advertising. IDT’s allegations are sufficient to support a claim under the Lanham Act. Even if

  IDT’s damages are speculative, it is but one factor in the test that grants IDT standing under the

  Conte Bros. The first through third factors all weigh in favor of granting IDT standing: the injury

  is the exact type that Congress sought to redress, the alleged injury is sufficiently direct, and IDT


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  is not at all remote from the alleged injurious conduct. The fifth factor, the risk of duplicative

  damages, also weighs in favor of IDT because the Defendants will not be forced to “pay double”

  if IDT is granted standing. The Court therefore concludes that IDT has standing, and that

  Defendants’ Motions are denied as to that respect.

                          b.      UTA’s Standing

          The Conte Bros. analysis also applies to UTA. Both sets of defendants (STi and Telco)

  argue that UTA lacks standing to assert a claim under the Lanham Act. UTA is a distributor of

  prepaid phone cards, while STi is a provider of these cards. (See Larsen Decl. ¶ 33; Kaplan

  Decl., Ex. 6, at ¶ 26, Feb. 11, 2009.) STi and Telco both argue that UTA lacks a sufficiently

  direct competitive relationship to have standing to assert claims under either the Lanham Act or

  state law.

                                  1.      Standing Under The Lanham Act

          The same five-factor test for standing under the Lanham Act should be applied to

  determine UTA’s standing. Conte Bros., 165 F.3d at 230. STi argues that UTA cannot satisfy

  the first factor because “its loss of sales at the distribution level allegedly as a result of STi

  Prepaid’s false advertising does not impact UTA’s ability to compete . . .” (STi’s Br. at 33; Doc.

  No. 375-2.) UTA counters by reading Conte Bros. to indicate that a court will extend standing

  beyond “direct competitors” when standing is appropriate based on the facts of the case. (Pl.’s

  Br. in Opp. to STi at 30; Doc. No. 379.) UTA further states that “UTA is a joint venture that is

  majority-owned by IDT Telecom” and that “IDT Telecom and UTA work in conjunction with

  one another to provide high quality services and products.” (Id. at 30; Bohorquez Decl. Ex. 18 at

  5, 13). UTA argues that they suffer losses from IDT’s loss of market share. These facts are fatal


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  to UTA’s standing under current Third Circuit jurisprudence. UTA is in the same position as the

  failed Appellants in Conte Bros.

          Conte Bros. involved a class of retail sellers of motor oil and other engine lubricants that

  competed with Slick 50, an engine lubricant manufactured by the Appellees. Conte Bros., 165

  F.3d at 223-224. The class of retailers challenged the Slick-50 manufacturers under § 43(a) of

  the Lanham Act alleging misrepresentations and false advertisements pertaining to Slick-50,

  which increased sales of Slick-50 and decreased sales of the products sold by the Appellants. Id.

  at 224. The Third Circuit rejected the retailers’ standing to sue based on the aforementioned

  five-factor test, holding that “[t]he type of injury suffered by Appellants - loss of sales at the

  retail level because of alleged false advertising - does not impact the Appellants’ ability to

  compete . . .” and “the alleged harm is not of the type that Congress sought to redress by enacting

  the Lanham Act.” Id. at 234 (internal citations omitted).

          The Third Circuit further noted that “recognizing the right of every potentially injured

  party in the distribution chain to bring a private damages action would subject defendant firms to

  multiple liability for the same conduct and would result in administratively complex damages

  proceedings.” Id. at 235. While UTA alleges a commercial harm as a result of Telco’s conduct

  in the form of lost sales of the cards it distributed, it has failed to present any evidence of a

  competitive harm vis-á-vis other distributors of prepaid calling cards. The Court concludes that

  UTA’s asserted injury is indirect, and the close relationship between UTA and IDT would lead to

  multiple liability for the Defendants if UTA were granted standing. Thus, the Court concludes

  that UTA lacks standing to sue with respect to the Lanham Act claims.

                          c.      State Law Standing


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         Telco next argues that both of the Plaintiffs lack standing to assert a claim under the New

  Jersey Consumer Fraud Act (“NJCFA”) because only consumers have standing to sue under the

  Act. (Telco’s Br. at 41; Doc. No. 377-7.) To bring an NJCFA claim, Plaintiffs must demonstrate

  that they are “consumers” and that the items they purchased are “merchandise.” Viking Yacht

  Co. v. Composites One LLC, 496 F. Supp. 2d 462, 473 (D.N.J. 2007). A “consumer,” while not

  defined by the NJCFA, has been described as “one who uses economic goods, and so diminishes

  or destroys their utilities.” Windsor Card Shops v. Hallmark Cards, 957 F.Supp. 562, 567

  (D.N.J. 1997)(quoting Hundred E Credit Corp. v. Eric Schuster, 212 N.J. Super 350, 355

  (1986)). Other courts have noted that the NJCFA applies to competitors as well as consumers.

  Gen. Dev. Corp. v. Binstein, 743 F.Supp. 1115 (D.N.J. 1990); Riley v. New Rapids Carpet

  Center, 61 N.J. 218, 225 (1972) (“[T]he reputable vendor . . . has a stake in the suppression of

  dishonest competition.”) However, no court explicitly holds that a competitor has standing to sue

  under the NJCFA, and this Court refuses to extend standing beyond consumers. See Barr Labs,

  Inc. v. Bolar Pharm. Co., Civ. No. 91-4374, 1992 U.S. Dist. LEXIS 22883 (D.N.J. July 14,

  1992); see also Specialty Ins. Agency v. Walter Kaye Assoc., Inc., Civ. No. 89-1708, 1989 U.S.

  Dist. LEXIS 11842 (D.N.J. Oct. 2, 1982). Here, because neither UTA nor IDT are “consumers”

  as defined by New Jersey law, summary judgment is granted on behalf of Defendants with

  respect to Plaintiffs’ NJCFA claims.

         Finally, Telco argues that Plaintiffs lack standing to pursue a claim for damages under the

  California Business and Professions Code because damages are not an available remedy.

  (Telco’s Br. at 41; Doc. No. 377-7). Under the Code, restitution is the only form of monetary

  relief permitted. Montecino v. Spherion Corp., 427 F. Supp. 2d 965, 967 (C.D. Cal. 2006).


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  Plaintiffs have not proffered any evidence that they are entitled to restitution as purchasers of the

  Telco Companies’ cards. Therefore, summary judgment will be granted to Defendants with

  respect to Plaintiffs’ damages claims under the California Business and Professions Code.

                  2.      Lanham Act Claims

          Both sets of Defendants argue that the elements of a Lanham Act claim have not been

  met, and that they are entitled to summary judgment1. To establish a violation under Section

  43(a) of the Lanham Act, Plaintiffs must show by a preponderance of the evidence: (1) that the

  Defendants made false or misleading statements as to their own product (or another’s); (2) that

  there is actual deception or at least a tendency to deceive a substantial portion of the intended

  audience; (3) that the deception is material in that it is likely to influence purchasing decisions;

  (4) that the advertised goods traveled in interstate commerce; and (5) that there is a likelihood of

  injury to the plaintiff in terms of declining sales, loss of good will, etc. Johnson & Johnson-

  Merck Consumer Pharm. Co. v. Rhone-Poulenc Rorer Pharm., Inc., 19 F.3d 125, 129 (3d Cir.

  1994) (quoting U.S. Healthcare, Inc. v. Blue Cross of Greater Philadelphia, 898 F.2d 914, 922-

  23 (3d Cir. 1990)). In order to obtain damages under 43(a), a Plaintiff “must show not only that

  the Defendant’s advertisement is false but also that this falsification actually deceives a portion

  of the buying public.” Parkway Baking Company v. Freihofer Baking Company, 255 F.2d 641,

  648 (3d Cir. 1958). The Plaintiff does not bear the burden of proving the details of every lost

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            Telco also argues that they are entitled to summary judgment on the issue of Plaintiffs’
  Permanent Injunction, because they are no longer engaged in the business of selling prepaid phone cards
  and the injunction is therefore moot. A party seeking to avoid an injunction bears a heavy burden of
  showing that “subsequent events made it absolutely clear that the allegedly wrongful behavior could not
  reasonably be expected to recur.” United States v. Concentrated Phosphate Export Ass’n, 393 U.S. 199,
  203 (1968). Because it is undisputed that Telco still exists as a corporation and could technically revive
  their prepaid phone card sales, the Court will deny Telco’s summary judgment motion with respect to
  this argument.

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  sale, but there “must be a showing of some customer reliance on the false advertisement.” Id.

  This requires proof that “the public was, in fact, misled,” which usually requires evidence in the

  form of a consumer survey. Johnson & Johnson, 19 F.3d at 129-30.

                          a.      The Causation Element of the Lanham Act

          This causal link between the alleged false advertisement and Plaintiffs’ damages is

  argued in the instant motion. A Plaintiff must establish a causal link between the alleged false

  advertising and the claimed damages. Synscort, Inc. v. Innovative Routines Int’l, Inc., Civ.

  Action No. 04-3623 (WHW), 2008 WL 1925304 (D.N.J. Apr. 30, 2008). Because this

  information is almost universally provided in the form of a consumer survey, Defendants argue

  that the lack of such a survey is fatal to the Plaintiffs’ claims. Plaintiffs have pled facts

  including, but not limited to: (1) evidence that STi deliberately targeted and focused false

  advertising toward IDT; (2) evidence that customers, including calling card distributors who sold

  STi’s cards in major markets, relied on and were confused by STi’s alleged false advertising

  about the number of minutes its card could deliver; (3) evidence that during the period STi

  increased its false advertising about minutes, STi’s sales increased and IDT’s market share

  decreased; and (4) evidence that the perception that IDT failed to offer minutes competitive with

  STi’s offerings was based on the number of minutes advertised by the parties in posters and on

  voice prompts. (Pls.’ Br. in Opp. to Telco at 18; Doc. No. 378.) Plaintiffs argue that whether

  Defendants’ advertising confused consumers is a genuine issue of material fact. (Id. at 19.)

  Plaintiffs also cite nonbinding case law stating that circumstantial evidence “can be sufficient to

  prove causation in a false advertising case just as it can be to prove other propositions.” Playtex

  Prods., Inc. v. Proctor & Gamble Co., 126 Fed. Appx. 32, 35 (2d Cir. 2005) (finding causation


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  where plaintiffs produced evidence establishing market share before and after advertising

  campaign, the nature of the market, strong brand loyalty among customers, and the stated goals

  of the advertising campaign.)

         The Court concludes that Plaintiffs have proffered sufficient evidence to survive a

  summary judgment motion. (See Pls.’ Br. in Opp. to Telco at 17-19; Doc. No. 378)(citing IDT’s

  evidence of consumer deception). There are genuine issues of material fact with respect to

  causation, including the changes in market share and other details about the allegedly deceptive

  trade practices. That a consumer survey was not proffered by Plaintiffs is not fatal to their case.

  In no section of the Lanham Act or Third Circuit case law does it state that a consumer survey is

  a requirement to establish a damages claim under Section 43(a). Therefore, Defendants’ STi

  Prepaid and Telco’s motions for summary judgment will be denied with respect to the causation

  element of the Lanham Act.

                         b.       Other Lanham Act Elements

         Aside from causation, the Defendants argue that other elements of a Lanham Act claim

  are not met and thus that they are entitled to summary judgment. First, Defendants argue that

  “Plaintiffs cannot show that the Telco Companies [and STi] made false or misleading statements

  as to their own prepaid calling cards or as to Plaintiffs’ prepaid calling cards.” (Telco’s Br. at 25;

  Doc. No. 377-7) (emphasis added). Two sets of communication are at issue here: (1) poster

  advertising and (2) voice prompts. Defendants argue that their posters are not false and

  misleading because they contain a disclaimer which reads “[a]pplication of surcharges and fees

  will have the effect of reducing total minutes actually received on the card from the minutes

  announced . . . Prices and fees . . . are subject to change without notice.” (Telco’s Br. at 25; Doc.


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  No. 377-7.) Plaintiffs counter by citing FTC v. Clifton Telecard Alilance, in which Judge

  Sheridan granted an injunction against the defendant for falsely advertising inflated minutes on

  posters despite a small disclaimer. Dkt. No. 1, 2:08-cv-01480 (D.N.J. 2008). Plaintiffs also

  argue that the advertisement is misleading per se, because there would be no way for a customer,

  using the card in such a way to bypass all extra fees, to actually be able to use a card for the

  amount of minutes advertised. (Pls.’ Br. in Opp. to Telco at 29; Doc. No. 378.) The Court

  concludes that whether Defendants’ posters are false and misleading is a genuine issue of

  material fact, and thus Defendants’ motions are denied with respect to this element.

         The second issue related to the falsity of advertisements is the Defendants’ use of voice

  prompts. The Lanham Act only provides liability for false “commercial advertising.” 15 U.S.C.

  § 1125(a)(1)(B). Thus, if a voice prompt is not commercial advertising, it cannot be the subject

  of a Lanham Act claim. The fact that the voice prompt is only heard after the consumer has

  purchased the card is not fatal to the Lanham Act claim. Courts have held that “[A]ny

  promotional statement directed at actual or potential purchasers” is encompassed by the Lanham

  Act. Gordon & Breach Science Publishers S.A. v. Am. Inst. of Physics, 905 F. Supp. 169, 182

  (S.D.N.Y. 1995). Here, the key inquiry is whether the statement is promotional. Promotional

  advertisements that are only visible after a consumer has purchased a product have been held to

  violate the Lanham Act, but the voice prompts at issue in this case are neither promotional nor

  advertisements. These are informational statements designed to alert the consumer of the

  remaining talk time, and have nothing to do with promoting or furthering the sales of more

  prepaid phone cards. Therefore, the Court concludes that the Defendants’ voice prompts cannot

  be the subject of a Lanham Act claim.


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         In addition to being false or misleading, the Plaintiffs must also prove that the

  Defendants’ misrepresentation is “material, in that it is likely to confuse the purchasing

  decision.” U.S. Healthcare, 898 F.2d at 922 (citations omitted). Defendants argue that the

  number of advertised minutes is completely immaterial to purchasers of prepaid calling cards.

  (Telco’s Br. at 27; Doc. No. 377-7.) Defendants state that “[a]mong the most important factors

  for consumers are: (a) the number of minutes actually delivered by a card, rather than the

  advertised minutes; (b) the clarity of the connection; and (c) the connectivity of the card.” (Id.

  (citing Telco’s Rule 56.1 Stmt. ¶¶ 33-42; Doc. No. 377-8)). Plaintiffs conducted a survey of

  potential prepaid calling card consumers (Goldman Decl. Ex. CC (“The Johnson Report”)). In

  this survey, they found that only 2 of 401 respondents indicated that Advertising/Posters/Flyers

  are how they “generally decide” which card to buy. (Id. at ¶ 20.) The Johnson Report further

  states that only 3% of the consumers surveyed “look at the printed material in the store” to tell

  how many minutes are available on their cards. (Id. at ¶ 21.) Defendants argue that these low

  numbers, on their own, prove that the advertisements are not material to the purchasing decisions

  of consumers. (Telco’s Br. at 29.) The Court is not convinced that low polling numbers in the

  Johnson report mean that the number of advertised minutes are, by law, immaterial to consumers.

  Because the advertisements go so clearly to the purpose of the product - the amount of minutes of

  talk time that they deliver - the statements are material as a matter of law. See S.C. Johnson &

  Son, Inc. v. Clorox Co., 241 F.3d 232, 238 (2d Cir. 2001) (lack of leakage is an inherent quality

  or characteristic of Ziploc storage bags such that a claim was clearly material). Thus, summary

  judgment with relation to the allegedly false and misleading posters is denied.

                 3.      State Law Claims


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         Defendants argue that summary judgment is appropriate because Plaintiffs have failed to

  show the same element of causation that is supposedly missing from the Lanham Act claim.

  (Telco’s Br. at 38; Doc. No. 377-7.)

                         a.     New York

         Defendants argue that summary judgment is appropriate because Plaintiffs have failed to

  show the same element of causation that is supposedly missing from the Lanham Act claim.

  (Telco’s Br. at 38). New York General Business Law § 350 requires proof of customer reliance;

  New York General Business Law § 349 requires a causal connection between plaintiff’s injury

  and defendant’s misrepresentation. Small v. Lorillard Tobacco Company, Inc., 679 N.Y.S.2d

  593, 604 (App. Div. 1998). For the reasons stated in the Lanham Act section of this opinion,

  Defendants have not shown that Plaintiffs claims fail as a matter of law. The Court concludes

  that Defendants’ motions for summary judgment should be denied with respect to the New York

  state law claims.

                         b.     California

         To state claim under California's False Advertising Law, a plaintiff must show only that

  members of the public are likely to be deceived. Mazza v. American Honda Motor Co., 254

  F.R.D. 610, 627 (C.D. Cal. 2008). The standard is that of reasonable consumer, and actual

  deception or confusion caused by misleading statements is not required. Id. This standard is

  lower than that required by the Lanham Act. For the same reasons that Plaintiffs’ Lanham Act

  and other state law claims survive, so too does their California state law claim.

                         c.     Florida and Illinois

         The Florida and Illinois state law claims (Counts VII-X) are similar to that of the New


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  York and California state law claims. Under the Florida Deceptive and Unfair Trade Practices

  Act (Count VII), the plaintiff myust show that “the unfair or deceptive practice . . . actually

  resulted in damage.” Lydia Security Monitoring, Inc. v. Alarm One, Inc., No. 07-80145, 2007

  U.S. Dist. LEXIS 62087, at *11-12 (S.D. Fla. Aug. 23, 2007). A claim for false advertising

  under Fla. Stat. § 817.41 (Count VIII) requires proof of each of the elements of common law

  fraud in the inducement, including that “the plaintiff suffered injury in justifiable reliance on the

  representation.” Joseph v. Liberty Nat’l Bank, 873 So. 2d 384, 388 (Fla. Ct. App. 2004). Finally,

  a claim under the Illinois Consumer Fraud Act (815 ILCS 505/2) (Count IX) requires Plaintiffs to

  establish “actual damage” that was “proximately caused by the deception” DeBouse v. Bayer AG,

  896 N.E.2d 882, 888 (Ill. App. Ct. 2008). For all of the reasons discussed above, Plaintiffs have

  pled enough facts to create a genuine issue of material fact with respect to these claims. Count X

  alleges a breach of the Illinois Uniform Deceptive Trade Practices Act. Money damages are not

  available under the Act. Fedders. Corp. v. Elite Classics, 279 F. Supp. 2d 965, 972 (S.D. Ill.

  2003). Therefore, summary judgment will be granted on Count X.

                 4.      STi Prepaid a/k/a “New STi”

         STi also moves for summary judgment on the grounds that it is not liable for the acts of

  its corporate predecessor, Telco. (STi’s Br. at 17; Doc. No. 375-2.) STi argues that the doctrine

  of successor liability should not apply to this situation, because STi is not a “mere continuation”

  of Telco. (Id. at 18.) The parties also dispute which law applies, with STi noting that “New

  York law should apply because this inquiry involves entities whose principal places of business

  were and are in New York . . .” and IDT stating that New Jersey has a “compelling interest in

  providing redress to a corporation doing business in New Jersey.” (Id. at 17 n. 13; Pls.’ Br. in


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  Opp. to STi at 16; Doc. No. 379.)

                         a.      Choice of Law

         Though the laws of New York and New Jersey are very similar with respect to successor

  liability, it is necessary for this Court to conduct a proper choice of law analysis. A federal

  district court must apply the choice of law rules of its forum state to determine what law will

  govern the substantive issues of a case. Klaxon Co. v. Stenor Elec. Mfg. Co., 313 U.S. 487, 496

  (1941). When deciding choice of law questions, New Jersey courts apply the flexible two-step

  “government interest analysis”. Rowe v. Hoffman-La Roche, Inc., 189 N.J. 615, 621 (N.J. 2007).

  Under governmental interest analysis, the “determinative law is that of the state with the greatest

  interest in governing the particular issue.” Veazey v. Doremus, 103 N.J. 244, 248 (N.J. 1986).

  The Plaintiffs IDT and UTA are both domiciliaries of New Jersey. (Pls.’ Br. in Opp. to STi at 16;

  Doc. No. 379.) Also, New Jersey has a “compelling interest in providing redress to a corporation

  doing business in New Jersey.” In re B.S. Livingston & Co., 186 B.R. 841, 863 (D.N.J. 1995).

  Thus, the Court will apply New Jersey law to the extent that it conflicts with New York law.

                         b.      The Successor Liability Doctrine

         When one company sells or transfers all of its assets to another, the second entity does not

  become liable for the debts and liabilities, including torts, of the transferor. Luxliner, P.L. Export

  Co. v. RDI/Luxliner, Inc., 13 F.3d 69, 73 (3d Cir. 1993). There are four judicially created

  exceptions to this presumption against the finding of successor liability. Under these exceptions,

  the Plaintiff must prove that: (1) the successor corporation either expressly or implicitly assumed

  the liabilities of its predecessor; (2) the transaction constituted a de facto merger or

  consolidation; (3) the purchasing corporation is a mere continuation of its predecessor; or (4) the


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  transaction is entered into to defraud creditors or for another fraudulent purpose. Berg Chilling

  Sys., Inc. v. Hull Corp., 435 F.3d 455, 464-65 (3d Cir. 2006). These will be addressed in turn.

                                 1.      Assumption of Liability

         The first exception that would subject STi to successor liability is whether they expressly

  or implicitly assumed the liabilities of Telco. Plaintiffs argue that “STi concedes that it assumed

  essentially all of Old STi’s [Telco’s] liabilities necessary to continue Old STi’s [Telco’s]

  business without interruption.” (Pls.’ Br. in Opp. of STi at 22; Doc. No. 379.) To support this

  argument, Plaintiffs make blanket statements that the parties’ intent in creating the STi

  companies was to absorb and continue the operations of Telco. (Id. at 18.) STi argues that the

  APA expressly provides that STi Prepaid did not assume any liabilities for any claims arising out

  of the prior conduct of the acquired assets and, in fact, excluded those liabilities from the

  transaction. (Larsen Decl. at ¶ 12; Kaplan Decl., Ex. 15 at STIPP 4086.) Because there is

  undisputed language in the APA that expressly provides that STi Prepaid would not assume

  liability for the claims relating to Telco’s pre-closing operations at issue here, no reasonable juror

  could conclude that there was an assumption of liability, either express or implied.

                                 2.      De Facto Merger and Mere Continuation

         The second and third exceptions to the presumption against successor liability are often

  analyzed in tandem, and this Court will do the same. See Berg, 435 F.3d at 464 (stating that de

  facto merger and mere continuation are “generally treated identically”). To succeed in proving

  that the acquisition was a de facto merger, the Plaintiffs must prove four elements: (1) continuity

  of shareholders or ownership; (2) cessation of ordinary business and dissolution of the acquired

  corporation as soon as possible; (3) assumption by successor of liabilities ordinarily necessary for


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  uninterrupted continuation of business of acquired corporation; and (4) continuation of the

  enterprise of the selling entity so that there is continuity of management, personnel, physical

  location, assets, and general business operations. Id. at 468-9. Further, the “mere continuation”

  exception will allow liability to run to the successor when there is a “mere continuation” of the

  business of the predecessor, i.e., the successor is nothing but the predecessor in disguise. Id. at

  465; Luxliner, 13 F.3d at 73.

         To prove a continuity of ownership, the Plaintiffs must prove that “the purchasing

  corporation [] represent[s] merely a ‘new hat’ for the seller.” Luxliner, 13 F.3d at 75. Here, it is

  undisputed that the corporate structures of STi and Telco differ in several respects. Mr. Tawfik,

  who had been the sole owner of Telco, received only a 25% interest in STi Prepaid, and Leucadia

  now controls the STi’s Board. (Larsen Decl. ¶ 10; Kaplan Decl. Ex. 15; Larsen Decl. ¶ 19;

  Kaplan Decl. Ex. 16 at 18:4-9 18:20-19:15, 334:23-335:2; Kaplan Decl. Ex. 39 at 8:10-11.)

  Among other things, Leucadia has exhibited control over the governance of STi Prepaid by

  installing new designees as officers and employees of STi Prepaid. Because there are no

  disputed material facts which could lead a reasonable juror to conclude that Mr. Tawfik controls

  STi Prepaid, the Court concludes that STi is not a “mere continuation” of Telco. Because this

  element of the analysis fails, successor liability based on a de facto merger cannot be imposed on

  STi.

         The second factor in a de facto merger analysis is whether there was a cessation of

  ordinary business and dissolution of the acquired corporation as soon as possible. Here, “it is

  undisputed that on March 8, 2007 . . . the Telco Companies sold all of their assets to STi Prepaid,

  LLC and ceased doing business.” (Telco’s Br. at 9; Doc. No. 377-7.) It is further undisputed that


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  Telco ceased phone card operations at the time the transaction closed. (STi’s Br. at 22; Doc. No.

  375-2.) The third factor, assumption of liabilities, also weighs against finding successor liability.

  Because STi expressly did not assume the liabilities of Telco, this prong of the analysis will also

  fail. The fourth and final factor of the de facto merger analysis is whether there was a

  continuation of the enterprise of the selling entity. Here, Telco superficially continues as a

  corporation, though it is a shell of its former self. (STi’s Br. at 22-23.) The mere lack of formal

  dissolution does not allow the Defendants to claim that Telco continues (Wilson v. Fare Well

  Corp., 140 N.J. Super. 476 (N.J. Super. Ct. Law Div. 1976), and the Court concludes that this

  factor favors the Plaintiffs as Telco ceased doing business. However, this one factor weighing in

  favor of Plaintiffs does not tip the scales in favor of a de facto merger. As discussed above, the

  significant changes made by STi prepaid to its management and general business operations

  demonstrate that no reasonable juror could conclude that STi is just Telco in a “new hat” and

  thus successor liability is inappropriate.

                                 3.      Fraud

         The fourth and final exception that would impose successor liability on STi is whether the

  transaction was entered into to defraud creditors or for an otherwise fraudulent purpose. Since

  no parties have presented any evidence of a fraudulent transaction, this prong also fails. Because

  none of the exceptions to the presumption that successor liability does not apply to an asset sale

  apply, the Court concludes that STi’s motion for summary judgment will be granted.

                 5.      IDT’s Motion to Strike

         Plaintiff IDT has moved to strike the Local Rule 56.1 Statement of Undisputed Material

  Facts filed with Telco’s motion for summary judgment. The Court is able to discern the


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  undisputed material facts related to Telco’s motion for summary judgment, and in the interest of

  judicial economy need not strike the document. The delay caused by re-briefing the motions to

  delete the minimal amount of attorney argument in all of the 56.1 statements is not necessary in

  light of the lack of prejudice to any party. The 56.1 statement is also not a summary judgment

  statement of facts. Accordingly, Plaintiff’s motion to strike (Doc. No. 384) is denied.

  III.   CONCLUSION

         For the foregoing reasons, Defendant STi Prepaid’s motion for summary judgment (Doc.

  No. 375) is granted; Defendant Telco’s motion for summary judgment (Doc. No. 377) is granted

  in part and denied in part; Plaintiffs’ Motion to Strike (Doc. No. 384) is denied. An appropriate

  form order is filed herewith.



  Dated: December 28, 2009



                                                         s/ Garrett E. Brown, Jr.
                                                       GARRETT E. BROWN, JR., U.S.D.J.




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